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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                              )
IN RE: PHILIPS RECALLED CPAP,                 )
BI-LEVEL PAP, AND MECHANICAL                  )
VENTILATOR PRODUCTS                           )       Master Docket: Misc. No. 21-1230
LITIGATION                                    )
                                              )
                                              )       MDL No. 3014
This Document Relates to:                     )
                                              )
Murray v. Philips, et al., #23-627            )
                                              )
                                              )


                                      ORDER OF COURT


       AND NOW this 15th day of May, 2025, for the reasons set forth in the

accompanying memorandum opinion, it is hereby ORDERED that the motion to remand

this case to the state court (ECF No. 2) is GRANTED. Civil Action No. 23-627 shall be

remanded FORTHWITH to the Santa Barbara, California Superior Court, Cook Division.

   Philips must pay Murray the actual expenses he incurred, including counsel fees,

pursuant to 28 U.S.C. § 1447(c); the appropriate amount will be determined after Murray

files a detailed application for the payment of the actual expenses he incurred as a result

of the improper removal. Murray’s request for payment must be filed no later than May

30, 2025 and Philips may file any objections to the request no later than June 13, 2025.

                                                      BY THE COURT:


                                                      /s/ Joy Flowers Conti
                                                      Joy Flowers Conti
                                                      Senior United States District Court Judge
